                                                     The Order ofthe Court is stated below:
                                                     Dated: July01,2019             /s/ JAMES GARDNER
                                                            10:30:07 AM                 DistrictCourtJudgc,




          Brian W. Steffensen (3092)
          STEFFENSEN ^ LAW • OFFICE
          PO Box 2279
          SaltLakeCity,Utah84110
          Telephone (801) 860-3707
          Fac8imile(866)221-7980
          Email brianwsteffensen@gmail.com
          Attomeys for Plaintiff

                                IN THE THIRD DISTRICT COURT
                              SALT LAKE COUNTY, STATE OF UTAH
           AAA Law PC et al.                          Order Granting Plaintiffs' Ex Parte
                                                      Emergency Motion for Temporary
             Plaintiffs,                              Restraining Order Without Hearing;
                                                      and
           vs.
                                                      Notice ofHearing
           Duffy Jay WiIIiams et al.

             Defendants                               CiviINo. 190905179
                                                      Judge James Gardner

                Plaintiffs Motion for a Temporary Restraining Order without notice and a
          hearing pursuant to URCP Rule 65, having come before the Court; and

                 The Court having reviewed the Motion, which is verified by Brian W.
          Steffensen, together with the prior filed Motion for Prejudgment Writ of
          Attachment^ and the Declaration ofBrian W. Steffensen in support thereof, which
          has been referenced as support for the instant motion, and fmding that these
          satisfy the requirements ofRule 65A. Under Rule 65A(e) ofthe Utah Rules of
          Civil Procedure. a restrainins order mav issue onlv upon a showins bv the
          applicant that: (1) The applicant will suffer irreparable harm unless the order or
          iniunctjon issues: (2~) The threatened iniurv to the applicant outweishs whatever
          damage the proposed order or injunction may cause the party restrained or
          enjoined; (3) The order or injunction. ifissued. would not be adverse to the public
          interest; and f4) There is a substantial likelihood that the applicant will prevail on
          the merits ofthe underlyins claim. or the case uresents serious issues on the merits

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          which should be the subiect offurther litisation. The Court determines that
          Plaintiffhas met its burden in this case ofshowing each ofthese requirements as to
          Mr. W^illiams. The Court finds based on the Affidavit ofBrian Steffensen that Mr.
          Williams has fraudulently incurred the debt alleged in the complaint and that
          Plaintiffwill have no other remedv to collect on the debt other than the inheritance.
          Because the TRO is limited in time. the Court finds that the burden on Mr.
          Williams will be outweished bv the potential iniurv to Plaintiff. The Court also
          finds that the limited TRO is not against the public interest and that Plaintiffhas
          shown a substantial likelihood ofprevailing on the merits ofthe underlying claim.
          or at least that the case presents serious issues on the merits. The Court also finds
          and specifically fmding that good cause has been shown for the issuance ofthe
          TROs without prior notice and a hearing because it appears that Plaintiffs will
          likely suffer in-eparable injury ifthe TROs are is_not issued immediately, because
          Duffy Jay Williams is currently in the State ofUtah but is allegedly hiding his
          whereabouts and Mr. Williams may flee Utah and/or expend or secret the funds
          which he has received, and otherwise finding good cause therefore;

               IT IS HEREBY ORDERED that Plaintiffs' Emergency Ex Parte Motion for
          Temporary Restraining Order Without Prior Notice and a Hearing is Granted.

                  Dufiy Jay Williams is hereby ordered:

           1.     To remain in the State ofUtah;

          2.      To refrain from spending, encumbering or hiding the monies received from
                  the Estate ofHugh Williams up to $250.000:

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                  pcnding furthcr ordcr ofthis Court.

                 It is also ordered that Defendant Duffy Williams be served papers incident to
          this motion and order via email to duff^'wfS),hotmail.com and
          duff\riwilliamsf5).2:mail.com.

                  This Date and Time ofthe Issuance ofthis TRO is Julv 1. 2019 at 10:30 a.m.

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                A hearing on the continuance ofthis TRO shall be held on July 11. 2019 at
          the hour of 3:00 p.m.. in Courtroom 33, in the Third District Court, West Jordan
          Division, 8080 S Redwood Road, West Jordan, Utah 84088.

                This TRO will expire ifnot extended at said hearing on July 11. 2019. at
          4:00 p.m.

           This Order is Issued by the Court as ofthe Date and Time Endorsed on the Top
                                               Hereof




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